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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------x
UNITED STATES OF AMERICA,

                        Plaintiff,                              FINDINGS OF FACT AND
                                                                CONCLUSIONS OF LAW
        -against-                                               15 CR 466 (ILG)

JUSTIN SMITH and EVELYN PERSON,

                        Defendants.
---------------------------------------------------x
GLASSER, United States District Judge:

        The defendants are charged with conspiracy to possess with intent to distribute

drugs, maintaining a stash house and unlawful use of a firearm. Smith is charged with

an additional count of possession with intent to distribute drugs; conspiracy to commit

and to attempt to commit Hobbs Act Robbery, witness retaliation and two counts of

being a felon in possession of a firearm. They have moved this Court for an Order that

would suppress evidence they allege was seized in violation of the Fourth Amendment of

the United States Constitution. A hearing was held in pursuit of that Order and leads

the Court to make the following findings of fact and conclusions of law.

                                         Findings of Fact

        At approximately 8:30 in the morning of June 18, 2014, officers of the New York

Police Department went to Evelyn Person’s apartment 6B at 185 Nevins Street in

Brooklyn, to execute two outstanding warrants for her arrest. She opened the door in

response to a knock and, standing in the doorway, was told by the police that they were

executing warrants for her arrest. The police arrested and handcuffed her. She

requested permission to change her clothes and was taken to her living room, where she

was seated on a couch to await the arrival of a female police officer who was summoned
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to accompany her while she changed her clothes. A drawing of the apartment received

in evidence as the Government’s Exhibit 1, shows that the living room is open to view

and flows without obstruction steps immediately to the left of the apartment doorway.

Once in the living room, the officer conducted a protective sweep for his safety. There,

in plain view on the couch, the officer saw a plate on which was a white powdery

substance, a razor blade, and a cigarette lighter. Under a night stand on the floor next to

the sofa, the officer also saw a box of ammunition. He also saw a live round on the table

inside the living room.

       At about the same time while this was taking place, the defendant Smith

appeared from a rear bedroom approaching the living room, was immediately

handcuffed and seated on the sofa next to Person. Officer Reilly, a member of the police

team on the scene, saw Smith “fidgeting around” while seated there and recovered “a

glassine envelope with a tan powdery substance and also a ziploc bag of a white rocky

substance.” (Hr’g. Tr. 11:15-18, ECF No. 58.) Officers who then made a protective sweep

of the apartment were prompted by the sight of what they believed to be more

contraband in the rear bedroom from which Smith emerged, froze the apartment,

secured the bedroom door and proceeded to obtain an emergency search warrant. (Hr’g.

Tr. 17:19.) An affidavit by Officer Thevenin in support of a search warrant described the

drugs and ammunition observed in plain view in the living room. The warrant was

issued later that afternoon by a Justice of the Kings County Supreme Court. In the

midst of this activity, Officer Elizabeth Medina of the NYPD arrived, accompanied Ms.

Person while she changed her clothes, patted her down, handcuffed her and transported

her to the 73rd Precinct.

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       Hours later, after obtaining the warrant and returning to the apartment to search

it thoroughly, drugs, ammunition and firearms were seized which, together with the

contraband seized in plain view, are the subjects of this motion to suppress. The theory

upon which the motion rests is that the seemingly innocuous encounter between the

police and Ms. Person in her doorway was not innocuous at all, but was an unwanted

and unlawful entry into her apartment. It would follow, then, that everything that was

seized in it was forbidden as was the apple in the Garden of Eden and metaphorically

thereafter referred to as the fruit of the poisonous tree.

       The disposition of this motion is determined by this Court’s evaluation of the

credibility of the witnesses. Two were called by the government; Angel Thevenin, the

arresting officer, and NYPD Officer Elizabeth Medina. The defendant, Evelyn Person,

testified on her own behalf. Having observed the witnesses, their demeanor as they

responded to questions on direct and cross examination and critically assessed the

substance of their testimony, I am driven to conclude that Officers Thevenin and Medina

truthfully related what occurred at approximately 8:30 in the morning of June 18, 2014

in apartment 6B at 185 Nevins Street in Brooklyn and the Constitution of the United

States was not violated.

       The account of what occurred on that morning is as recounted above and

represents my findings of fact. Those findings were based largely on the testimony of

Officer Thevenin. His account of what transpired at the crucial and transformative

moment when Ms. Person came to the door in response to the officers’ announcement

was unimpeached, but sought to be discredited by Ms. Person. Virtually all of the cross

examination of Officer Thevenin was devoted to such inconsistencies as they were able

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to discern in his description of where precisely one piece of living room furniture was in

relation to another and to cast doubt about whether there ever was a white plate on the

couch with a razor blade, cigarette lighter with a white powdery substance on it. The

inconsistencies, which in the Court’s view, were de minimis, were sought to be

established by photographs of isolated portions of the living room and of Smith’s

bedroom which were of questionable relevance. Frequently overlooked in a critical

evaluation of such cross examination as they purport to undermine the credibility of a

witness, is that the minutiae they inquire about occurred, as they did in this case, almost

two years ago and inconsistencies are inevitable. Some might regard a precise minute by

minute, inch by inch recall after such a time lapse with suspicion. However, emphasis

might be placed, although note was taken of it briefly, on the fact that the photos relied

upon were taken by Thevenin with his phone at 6:00 p.m., almost 10 hours after the

events were described and the apartment was secured. But far more important was the

following corroborating colloquy on cross examination of Ms. Person:

              Q      You mentioned that you heard one of the officers say

                     “Plain View;” is that true?

              A      Yes.

              Q      Did you see the items that he said was in plain view?

              A      Yes.

              Q      Those items were a plate with some drug residue on

                     it?

                                          * * *

              A      Yes, there was a plate with a lighter and a razor blade.

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              Q      And drug residue on it?

              A      I did not see any residue on the plate.

Hr’g. Tr. 86:22 - 87:10.

       Returning to the arrival of the police at 8:30 that morning and the defining

moment regarding Person’s contested request to change her clothing, a review of the

transcript of her testimony will validate the Court’s assessment of her credibility. On

her direct examination she was asked:

              Q      Tell the judge what, if anything, happened when you

                     were – 8:30 in the morning?

              A      Well, when I woke up, I went to brush my teeth, and

                     there was a bang at the door. So, I went to see who it

                     was, and three men turned around and announced

                     themselves as police officers who had a warrant for

                     me. So, I told them to hold on, because I still had

                     toothpaste in my mouth. I finished freshening up.

                     (emphasis added.) I had already been dressed, so I

                     went – I just grabbed my keys and things to go, and

                     when I went to the door, I opened it and I greeted

                     them with a hello.

Hr’g. Tr. 79:16 - 80:1.

       On cross examination, the following colloquy is recorded:

              Q      Now, I want to go into – you testified that the

                     circumstances were that you woke up and went into

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                     the bathroom, when you heard knocking on your

                     door; is that correct?

              A      Yes.

              Q      Then you went from the bathroom to the front door;

                     correct?

              A      Yes.

              Q      And then you told the police officers – you opened the

                     door; correct?

              A      No. I told them to hold on.

              Q      You told them to hold on after you had opened the

                     door; correct?

              A      No. Before I opened the door.

              Q      Before you opened the door?

              A      Yes.

Hr’g. Tr. 84:18 - 85:8.

       Further on she testified:

              Q      . . . two of the officers, after the door was opened,

                     pushed past you?

              A      Yes.

              Q      And you weren’t handcuffed at the time?

              A      No.

              Q      And it’s your testimony that a third officer then

                     walked past you and still hadn’t handcuffed you?

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                A       Exactly.

                Q       So, it’s your testimony that all three officers went past

                        you and left you unhandcuffed behind them?

                A       Yes.

                Q       And that it wasn’t until you went into the living room

                        that you got handcuffed in the living room?

                A       Yes.

                Q       Ms. Person, you heard that recording earlier that the

                        government played; is that true?

                A       Yes.

                Q       And you heard on the recording the individual1 on that

                        recording say that you were handcuffed at the door;

                        do you remember that?

                A       Yes.

                Q       And so, what that person said on the recording is not

                        true or not accurate?

                A       No. He wasn’t even there.

Hr’g. Tr. 85:18 - 86:16.

        Of particular significance in this regard is the testimony on direct examination of

what she wore when she was arrested. Having credited the testimony of Officers

Thevenin and Medina that she did request to change her clothes, the following is

        1
         The “individual” is the defendant Justin Smith speaking on a recorded telephone conversation,
Government’s Exhibit 2, from Riker’s Island. “. . . I come out the back room, they cuff her from the door
. . . .”

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informative:

               Q     What were you wearing when you heard that the

                     police were at the door? I want you to be very specific.

               A     I had on jeans and a striped tank top.

                                          * * *

               Q     The police come, you open the door?

               A     Yes.

               Q     What are you wearing?

               A     A striped tank top and blue jeans.

Hr’g. Tr. 80:2-15.

       Then received in evidence as Defendant’s Exhibit A is a photo of Ms. Person,

taken “recently” (Hr’g. Tr. 83:8.), she testified and identified the clothes she was wearing

as the clothes she wore when she opened the door, a striped tank top and blue jeans.

       Apparently not recalled was counsel’s earlier cross examination of Officer

Thevenin from whom he elicited as having described on the on-line arrest sheet, a

document he always fills out when making an arrest, a description of the clothing she

was wearing when she was arrested:

               Q     What does it say?

               A     “Clothing. Headgear, baseball hat, white;

                     “Clothing, accessories, sweat jogging clothes, gray;

                     “Clothing. footwear, sneakers, gray;” and

                     “Clothing, outerwear, T-shirt or tank top, white.”

               Q     That document you always fill out when you make an

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              arrest; correct?

              A      Correct.

Hr’g. Tr. 40:1-10.

       The cross examination of Officer Medina buoys the Court’s confidence in the

assessment of Person’s credibility. That inquiry was as follows:

              Q      You basically walked her to a bedroom, where she

                     changed; is that correct?

              A      That’s correct.

              Q      Do you remember what she was wearing prior to

                     changing?

              A      No.

              Q      I show you what’s been marked as Defendant’s Exhibit

                     A for identification?

                     Does that refresh your recollection as to what she was

              wearing?

              A      I just can’t remember exactly.

                                             * * *

              Q      All right. After she changed, you were one of the two

                     officers who placed her in a patrol car and took her to

                     the precinct; is that right?

              A      That’s correct.

              Q      And you handcuffed her, then, in the apartment; is

                     that correct?

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               A      That’s correct.

                                            * * *

               Q      What clothes did she change into?

               A      It was like a gray jumpsuit.

 Hr’g. Tr. 69:5-23; 70:6-7.

                                   Conclusions of Law

        Given the facts found by the Court, the relevant principles of law are readily

 revealed and compel the conclusion that the Fourth Amendment was not violated and

 the motion to suppress must be denied.

        The movant of a motion to suppress initially bears the burden of establishing that

 his person or his property was subjected to a search and seizure by an officer of the

 government acting without a warrant. The burden is not a heavy one. In this case it was

 satisfied simply by a sworn statement of Ms. Person that officers of the New York City

 Police Department entered her apartment without a warrant and without her

 permission and that everything in it that was seized thereafter by a search of her

 apartment was illegally obtained and the evidence of it must be suppressed. The burden

 then shifts to the government to establish by a preponderance of the evidence that the

 search and the seizure did not offend the Constitution.

        It is by now and has been for a long time understood that the objective of the

 Fourth Amendment was to deter law enforcement officers from acting lawlessly by

 forbidding the use of the evidence they seized by a warrantless search. Over time, the

 rigid exclusionary impact of the Fourth Amendment was seen to disserve other societal

 interests expressed by the famous admonition by Judge Cardozo in People v. Defore,

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 242 N.Y. 13, 21 (1920), that “the criminal should not go free because the constable

 blundered.” Discrete exceptions to the Amendment’s application were created to

 accommodate its objective and the interests of society. One of those exceptions is

 exquisitely applicable here and was clearly stated by Justice White, writing for the Court

 in Maryland v. Buie, 495 U.S. 325 at 334-335 (1990), as follows:

               We also hold that as an incident to the arrest the officers
               could, as a precautionary matter and without probable cause
               or reasonable suspicion, look in closets and other spaces
               immediately adjoining the place of arrest from which an
               attack could be immediately launched. Beyond that,
               however, we hold that there must be articulable facts which,
               taken together with the rational inferences from those facts,
               would warrant a reasonably prudent officer in believing that
               the area to be swept harbors an individual posing a danger to
               those on the arrest scene.
                                           * * *
               We should emphasize that such a protective sweep, aimed at
               protecting the arresting officers, if justified by the
               circumstances, is nevertheless not a full search of the
               premises, but may extend only to a cursory inspection of
               those spaces where a person may be found. The sweep lasts
               no longer than is necessary to dispel the reasonable suspicion
               of danger and in any event no longer than it takes to
               complete the arrest and depart the premises.

        An examination of the layout of the apartment, attached as Government’s Exhibit

 1, reveals the living room as a virtual spatial extension of the entrance. It is plainly the

 space “immediately adjoining the place of arrest in which the officers could look, in the

 exercise of precaution for their safety without probable cause or reasonable suspicion.”

 The justification of the exception was provided by the unexpected appearance of Smith,

 a felon now charged with the possession of a gun, who might as easily have hidden

 behind the sofa upon hearing the knock on the door.

        It is worth noting that the ammunition box, live round, white powdery substance

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 together with a razor on a plate in plain view, together with the appearance of Smith

 provided the articulable facts and reasonable inferences to be drawn from them to

 warrant a reasonably prudent officer to believe that the rest of the apartment might

 “harbor another individual posing a danger to the other officers.” Buie, 494 U.S. at 334.

        The memorandums of law submitted by the parties in support of and in

 opposition to the motion are replete with citations to cases of varying fact patterns, an

 extended discussion of which would add little to the teaching of Buie in relation to which

 they are merely commentary.

        In addition to the foregoing exception to the Fourth Amendment, the government

 opposes the motion to suppress by invoking another recognized exception referred to as

 a “duty to clothe.” Although that “duty” is referred to in the cases, see, e.g., United

 States v. DiStefano, 555 F.2d 1094, 1101 (2d Cir. 1977), the precise meaning and

 application of “duty” in this context is interesting to consider. I resist the temptation to

 do so, instead, denying the motion upon another related ground which I regard to be

 more precisely applicable upon a reading of the following cases.

        In United States v. Reid, 769 F.3d 990 (8th Cir. 2014), Officers arriving at the

 home of the defendant to execute a warrant for her arrest found her outside dressed only

 in her pajamas. They allowed her to reenter her home to change her clothes. She was

 accompanied by an officer to her bedroom where she changed from pajamas to clothes

 and where he saw an assault rifle in plain view. In her motion to suppress she argued

 that accompanying her to her bedroom did not justify his warrantless entry into it

 because she didn’t request to reenter. In denying her motion, the Court wrote at 992-

 993:

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              When an arrestee chooses to reenter her home for her own
              convenience, it is reasonable for officers to accompany her
              and to monitor her movements . . . It is true that there is no
              testimony directly quoting [her] as making such a request.
              But the district court found that the deputies “allowed” [her]
              to reenter and this finding is best understood in ordinary
              usage as a grant of permission. A grant of permission
              implies a request (emphasis added; internal citations
              omitted.)

       Having found that the defendant, at the doorway to her apartment in handcuffs,

 requested permission to change her clothes, an implication of a request is not required

 here. There is testimony that she directly made that request. Hr’g. Tr. at 6 and it was

 “reasonable for an officer to accompany her and monitor her movements.”

       Frequently cited in this regard is United States v. Debuse, 289 F.3d 1072 (8th Cir.

 2002). Officers went to the defendant’s home to execute a warrant for his arrest. He

 answered the door and was handcuffed outside. He was barefoot and asked to reenter

 his house to get his shoes and socks. Officers escorted him inside and saw a rifle

 hanging on the wall in plain view. They then conducted a protective sweep of the house

 and saw many other rifles in plain view. He was charged with being a felon in

 possession of firearms. He conditionally pleaded guilty and subsequently argued on

 appeal that the arrest of a person outside his home does not justify a warrantless search

 of it. In rejecting his argument, the Court wrote at 1074-1075:

              One of the exceptions to this rule, however, is when an
              officer accompanies the arrestee into his residence to obtain
              clothing or identification . . . Thus, contraband seen by an
              officer in plain view while accompanying the arrestee in his
              home may be lawfully used against the arrestee.

              Here, Debuse chose to reenter his house simply for his own
              convenience . . . . Because the officers were legally entitled to
              accompany Debuse as he reentered his home, they were

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                 legally in the position to see the rifle hanging on the wall as
                 they entered.

        It requires no extrapolation to conclude that so too was Officer Thevenin legally

 in position to see the plate, the ammunition box and the live round.

        Among the cases cited in the above excerpt is United States v. Gwinn, 219 F.3d

 326, 333 (4th Cir. 2000), where the Court held that “without the arrestee’s request, his

 partially clothed status may constitute exigency justifying officer’s temporary reentry

 into arrestee’s home to retrieve clothes.” It is noteworthy that the Gwinn Court joined

 the Second Circuit in holding in United States v. DiStefano, supra, that the officers had a

 duty to find clothing for an arrestee in their custody or permit the arrestee to do so.

 Though stated as “permission implies request” it might also be understood in more

 legally familiar terms, as request implies consent. That is to say, by requesting to change

 her clothes, Person impliedly consented to doing so under the arresting officer’s

 watchful eye.

        The pronouncement of the Supreme Court in a factually related case is noted as

 relevantly applicable to informing the determination of this one. In Washington v.

 Chrisman, 455 U.S. 1 (1982), the Court held that:

                 it is not “unreasonable” under the Fourth Amendment for a
                 police officer, as a matter of routine, to monitor the
                 movements of an arrested person, as his judgment dictates,
                 following the arrest. The officer’s need to ensure his own
                 safety – as well as the integrity of the arrest – is compelling.
                 Such surveillance is not an impermissible invasion of the
                 privacy or personal liberty of an individual who has been
                 arrested.



        Given those findings of fact and conclusions of law, their motions to suppress are

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 denied.

          SO ORDERED.

 Dated:       Brooklyn, New York
              June 3, 2016



                                                     /s/
                                            I. Leo Glasser




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